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                                        EXHIBIT 1

                               Proposed Interim Order

                                   Ex. A: DIP Term Sheet
                                    Ex. B: Initial Budget




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      ) Chapter 11
                                                            )
AMERIFIRST FINANCIAL, INC., et al.,1                        ) Case No. 23-11240 (TMH)
                                                            )
                                   Debtors.                 ) (Joint Administration Requested)
                                                            )

               INTERIM ORDER (I) AUTHORIZING DEBTORS (A) TO OBTAIN
         POSTPETITION FINANCING AND (B) TO UTILIZE CASH COLLATERAL,
         (II) GRANTING ADEQUATE PROTECTION TO PREPETITION LENDERS,
                (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
                 A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

          This matter is before the Court on the motion (the “Motion”) of AmeriFirst Financial, Inc.

(“AmeriFirst”) and Phoenix 1040, LLC, as debtors and debtors in possession (collectively, the

“Debtors”), in these chapter 11 cases (the “Chapter 11 Cases”), requesting entry of an interim order

(this “Interim Order”) and a final order (the “Final Order”) pursuant to sections 105(a), 363, and

364 of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy

Code”), Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 4001-2 of the Local Rules of Bankruptcy Practice and Procedure for the United States

Bankruptcy Court for the District of Delaware (as amended, the “Local Bankruptcy Rules”):

          (1) authorizing AmeriFirst to obtain postpetition financing from RCP Credit Opportunities

Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. (“DIP

Lenders”), consisting of a senior secured, superpriority term loan facility in the principal amount

of up to $5,000,000 (the “DIP Loans”) to be used for general liquidity purposes, including the



1
    The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
    LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
    117, Mesa, AZ 85203.

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payment of administrative expenses and estate professional fees, as described herein and in that

certain Binding DIP Term Sheet, dated August 28, 2023, by and among the DIP Lenders, as

lenders, RCP Credit Opportunities Fund Loan SPV (Fund III), L.P., as agent (the “DIP Agent”),

and AmeriFirst, as borrower (substantially in the form attached hereto as Exhibit A, as any time

amended, the “DIP Term Sheet”), of which amount $2,775,000 will be available on an interim

basis (the “Interim Amount Limit”) during the Interim Period (as defined below), on the terms and

conditions set forth in the DIP Term Sheet and this Interim Order;

          (2)       authorizing AmeriFirst to execute and enter into the DIP Term Sheet and to perform

all such other and further acts as may be required in connection with the DIP Term Sheet;

          (3)       authorizing AmeriFirst to use proceeds of the DIP Loans solely as expressly

permitted in the DIP Term Sheet and in accordance with this Interim Order;

          (4)       pursuant to Bankruptcy Code section 364, granting the DIP Agent for the benefit

of the DIP Lenders security interests and liens as set forth in the DIP Term Sheet and this Interim

Order and allowed superpriority administrative expense claims against AmeriFirst for the amounts

advanced under the DIP Loans;

          (6)       authorizing AmeriFirst to pay the principal, interest, fees, expenses, disbursements,

and other amounts payable under the DIP Term Sheet as such amounts become due and payable;

          (7)       granting adequate protection to the Prepetition Lenders (as defined below) as set

forth in the DIP Term Sheet and this Interim Order;

          (8)       scheduling a final hearing (the “Final Hearing”) to consider entry of the Final

Order, and in connection therewith, giving and prescribing the manner of notice of the Final

Hearing on the Motion; and

          (9)       granting the Debtors such other and further relief as is just and proper.



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          Based upon the Court’s review of the Motion, the exhibits attached thereto, the Declaration

of T. Scott Avila in Support of First Day Motions (the “First Day Declaration”) and all matters

brought to the Court’s attention at the interim hearing, which was held on August [___], 2023,

pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2) (the “Interim Hearing”), and after due

deliberation and consideration, and good and sufficient cause appearing therefor,

                 IT IS HEREBY FOUND, DETERMINED, AND ADJUDGED, that:2

          1.        Disposition.   The Motion is hereby GRANTED, as and to the extent provided

herein. Any and all objections to the relief requested in the Motion, to the extent not otherwise

withdrawn, waived, or resolved by consent at or before the Interim Hearing, and all reservations

of rights included therein, are hereby OVERRULED and DENIED.

          2.        Jurisdiction; Core Proceeding.           This Court has jurisdiction over the Chapter

11 Cases, this Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334.

This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.        Service of Motion and Notice of Interim Hearing.           The Debtors have caused to be

served a notice of the Motion and the Interim Hearing, including a copy of the proposed Interim

Order and Budget (as defined below), by electronic mail, telecopy transmission, hand delivery,

overnight courier, or first class United States mail upon the Office of the United States Trustee

(the “U.S. Trustee”), the consolidated 30 largest unsecured creditors of the Debtors, the Internal

Revenue Service, all parties who have filed requests prior to the date of service for notices under

Rule 2002 of the Bankruptcy Rules, and all parties known by a Debtor to hold or assert a lien on

any asset of a Debtor. The foregoing notice of the Motion, as it relates to this Interim Order and


2
     The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
     pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

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the Interim Hearing, is appropriate, due, and sufficient under the Bankruptcy Code, the Bankruptcy

Rules, and the Local Bankruptcy Rules, including, without limitation, Sections 102(1) and 364 of

the Bankruptcy Code and Bankruptcy Rule 4001(b), (c) and (d), and that no further notice of the

relief sought at the Interim Hearing and the relief granted herein is necessary or required.

          4.        Petition Date. On August 24, 2023 (the “Petition Date”), each of the Debtors filed

with the Court its respective voluntary petition for relief under chapter 11 of the Bankruptcy Code,

and each is continuing to manage its properties and to operate its business as a debtor in possession

pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner, or committee

has been appointed for any Debtor herein.

          5.        AmeriFirst’s Stipulations. Without prejudice to the rights of any other party,

AmeriFirst admits, stipulates, acknowledges, and agrees as follows:

                    a.     Need for Financing. An immediate and ongoing need exists for
                           AmeriFirst to obtain the DIP Loans in order to permit, among other
                           things, the orderly operation of its business and the satisfaction of
                           administrative expense claims. AmeriFirst does not have sufficient
                           available resources of working capital to maintain its assets without
                           postpetition financing. AmeriFirst’s ability to maintain going
                           concern value is essential to its preservation of the value of its assets
                           for the benefit of all stakeholders.

                    b.     Prepetition Credit Facility. Pursuant to that certain Amended and
                           Restated Credit and Security Agreement, dated as of May 15, 2023
                           (as amended, supplemented, restated or otherwise modified prior to
                           the Petition Date, the “Prepetition Credit Agreement”, collectively
                           with all other agreements, documents, and instruments executed or
                           delivered in connection therewith, including, without limitation, all
                           security agreements, notes, guarantees, mortgages, Uniform
                           Commercial Code financing statements, and fee letters, each as may
                           be amended, restated, amended and restated, supplemented, waived,
                           or otherwise modified prior to the Petition Date the “Prepetition
                           Loan Documents”, and the credit facilities evidenced thereby,
                           collectively, the “Prepetition Credit Facility”) among (a) AmeriFirst
                           Financial, Inc., as borrower the (“Prepetition Borrower”), (b) RCP
                           Credit Opportunities Fund Loan SPV (Fund III), L.P., as agent (the
                           “Prepetition Agent”), (c) RCP Credit Opportunities Fund Loan SPV
                           (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P.
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                         as lenders (the “Prepetition Lenders” and together with the
                         Prepetition Agent, the “Prepetition Secured Parties”), the
                         Prepetition Borrower incurred “Obligations” (as defined in the
                         Prepetition Credit Agreement, the “Prepetition Loans” and with
                         other obligations, the “Prepetition Secured Obligations”) and the
                         Prepetition Borrower is indebted to the Prepetition Secured Parties
                         as set forth in the Prepetition Credit Facility.

                    c.   Prepetition Secured Obligations. As of the Petition Date, the
                         Prepetition Borrower was validly, justly and lawfully indebted and
                         liable to the Prepetition Secured Parties, without defense, challenge,
                         objection, claim, counterclaim, or offset of any kind, for (x) not less
                         than $15,798,087 in outstanding principal amount of Loans (as
                         defined in the Prepetition Credit Agreement) plus accrued and
                         unpaid interest thereon, and (y) any fees, expenses and
                         disbursements (including any attorneys’ fees, accountants’ fees,
                         appraisers’ fees, auditors’ fees, financial advisors’ fees, and fees of
                         other consultants and professionals), costs, charges, indemnities,
                         and other Prepetition Secured Obligations in each case incurred
                         under (or reimbursable pursuant to) or secured by the Prepetition
                         Loan Documents.

                    d.   Validity of Prepetition Secured Obligations. Subject to entry of the
                         Final Order, AmeriFirst stipulates that the Prepetition Obligations
                         under Prepetition Loan Documents constitute legal, valid, binding,
                         and non-avoidable obligations of AmeriFirst in accordance with the
                         respective terms of the relevant Prepetition Loan Documents, and
                         no portion of the Prepetition Obligations or any payment made to
                         the Prepetition Lenders or applied to or paid on account thereof prior
                         to the Petition Date is subject to any contest, attack, rejection,
                         recovery, reduction, defense, counterclaim, offset, subordination,
                         recharacterization, avoidance or other claim (as such term is defined
                         in the Bankruptcy Code), cause of action including any avoidance
                         actions under chapter 5 of the Bankruptcy Code), choses in action
                         or other challenge of any nature under the Bankruptcy Code or any
                         applicable non-bankruptcy law.          The Prepetition Protective
                         Advances (as defined in the DIP Term Sheet) shall be deemed
                         “Protective Advances” under the Prepetition Loan Documents.

                    e.   Validity, Perfection and Priority of Prepetition Liens. Subject to
                         entry of the Final Order, AmeriFirst stipulates that, as of the Petition
                         Date, pursuant to the Prepetition Loan Documents, AmeriFirst
                         granted for the benefit of the Prepetition Lenders, a valid, binding,
                         properly perfected, enforceable, non-avoidable first priority security
                         interest in and continuing lien on (the “Prepetition Liens”)
                         substantially all of its assets and property as set forth in the
                         Prepetition Loan Documents (the “Prepetition Collateral”), subject

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                         only to any liens permitted by the Prepetition Loan Documents to be
                         senior to the Prepetition Liens, solely to the extent that such
                         permitted liens are (a) valid, perfected, and non-avoidable on the
                         Petition Date or (b) valid liens in existence on the Petition Date that
                         are perfected subsequent to the Petition Date in accordance with
                         section 546(b) of the Bankruptcy Code (collectively, the
                         “Prepetition Permitted Senior Liens”).

                    f.   Waiver of Challenge and Challenge Period.                   AmeriFirst’s
                         stipulations, admissions, agreements and releases contained in the
                         Final Order shall be binding upon it in all circumstances and for all
                         purposes. AmeriFirst’s stipulations, admissions, agreements and
                         releases contained in the Final Order shall be binding upon all other
                         parties in interest, including, without limitation, any statutory or
                         non-statutory committees appointed or formed in the Chapter 11
                         Case and any other person or entity acting or seeking to act on behalf
                         of AmeriFirst’s estate, including any chapter 7 or chapter 11 trustee
                         or examiner appointed or elected for AmeriFirst, in all
                         circumstances and for all purposes unless: (a) such committee or
                         other party in interest with requisite standing has timely filed an
                         adversary proceeding or contested matter (subject to the limitations
                         contained herein) by no later than the later of (x) 21 calendar days
                         after entry of the Final Order and (y) if a chapter 7 or a chapter 11
                         trustee is appointed or elected prior to the end of the Challenge
                         Period (as defined below), the Challenge Period solely for any such
                         chapter 7 trustee or chapter 11 trustee shall be extended to the date
                         that is the later of (A) 21 calendar days after entry of the Final Order,
                         or (B) the date that is 30 calendar days after their appointment; or
                         any such later date as has been agreed to in writing by the Prepetition
                         Lenders or has been ordered by the Court for cause upon a motion
                         filed and served within any applicable period (the time period
                         established by the foregoing clauses (x)-(y) the “Challenge Period”),
                         (A) objecting to or challenging the amount, validity, perfection,
                         enforceability, priority or extent of the Prepetition Obligations or the
                         Prepetition Liens, or (B) asserting or prosecuting any avoidance
                         action or any other claims, counterclaims or causes of action,
                         objections, contests or defenses (collectively, the “Challenges”)
                         against the Prepetition Lenders in connection with or related to the
                         Prepetition Loan Documents, the Prepetition Loans, the Prepetition
                         Liens, or the Prepetition Collateral; and (b) there is a final non-
                         appealable order in favor of the plaintiff sustaining any such
                         Challenge; provided, however, that any pleadings filed in
                         connection with a Challenge shall set forth with specificity the basis
                         for such Challenge and any Challenges not so specified prior to the
                         expiration of the Challenge Period shall be deemed forever waived,
                         released and barred. If no Challenge is timely and properly filed
                         during the Challenge Period or the Court does not rule in favor of
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                         the plaintiff in any such Challenge, then: (1) AmeriFirst’s
                         stipulations, admissions, agreements and releases contained in the
                         Final Order shall be binding on all parties in interest; (2) the
                         obligations of AmeriFirst under the Prepetition Loan Documents
                         shall constitute allowed claims not subject to defense avoidance,
                         reduction, setoff, recoupment, recharacterization, subordination,
                         disallowance, impairment, counterclaim, cross-claim, or any other
                         challenge under the Bankruptcy Code or any applicable law or
                         regulation by any person or entity for all purposes in this case and
                         any Successor Case; (3) the Prepetition Liens shall be deemed to
                         have been, as of the Petition Date, legal, valid, binding, perfected,
                         security interests and liens, not subject to defense, avoidance,
                         reduction, setoff, recoupment, recharacterization, subordination
                         (whether equitable, contractual or otherwise), disallowance,
                         impairment, counterclaim, cross-claim, or any other challenge under
                         the Bankruptcy Code or any applicable law or regulation by any
                         person or entity, including any statutory or non-statutory
                         committees appointed or formed in the Chapter 11 Case or any other
                         party in interest acting or seeking to act on behalf of AmeriFirst’s
                         estate, including, without limitation, any chapter 7 or chapter 11
                         trustee or examiner, and any defense, avoidance, reduction, setoff,
                         recoupment, recharacterization, subordination (whether equitable,
                         contractual, or otherwise), disallowance, impairment, counterclaim,
                         cross-claim, or any other challenge under the Bankruptcy Code or
                         any applicable law or regulation by any statutory or non-statutory
                         committees appointed or formed in the Chapter 11 case or any other
                         party acting or seeking to act on behalf of AmeriFirst’s estate,
                         including, without limitation, any chapter 7 or chapter 11 trustee or
                         examiner, whether arising under the Bankruptcy Code or otherwise,
                         against any of Prepetition Lenders shall be deemed forever waived,
                         released and barred. If any Challenge is timely filed during the
                         Challenge Period, the stipulations, admissions, agreements and
                         releases contained in the Final Order shall nonetheless remain
                         binding and preclusive (as provided in the second sentence of this
                         paragraph) on each person or entity, except to the extent that such
                         stipulations, admissions, agreements and releases were expressly
                         and successfully challenged in such Challenge as set forth in a final,
                         non-appealable order of a court of competent jurisdiction. Nothing
                         in the Final Order will vest or confers on any person or entity (each
                         as defined in the Bankruptcy Code), including any statutory or non-
                         statutory committees appointed or formed in the Chapter 11 Case,
                         standing or authority to pursue any claim or cause of action
                         belonging to AmeriFirst or its estate, including, without limitation,
                         any Challenges with respect to the Prepetition Loan Documents,
                         Prepetition Loans or Prepetition Liens, and any ruling on standing,



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                          if appealed, shall not stay or otherwise delay confirmation of any
                          plan of reorganization in the Chapter 11 Case.

                    g.    No Control. None of the Prepetition Secured Parties or the DIP
                          Secured Parties control (or have in the past controlled) AmeriFirst
                          or its respective properties or operations, have authority to
                          determine the manner in which AmeriFirst’s operations are
                          conducted or are control persons or insiders of AmeriFirst by virtue
                          of any actions taken with respect to, in connection with, related to
                          or arising from any Prepetition Loan Documents;

                    h.    No Claims or Causes of Action. No claims or causes of action held
                          by AmeriFirst or its estate exist against, or with respect to, the
                          Prepetition Secured Parties and each of their respective
                          Representatives (as defined below), in each case, in their capacity as
                          such, under or relating to any agreements by and among AmeriFirst
                          and any Prepetition Secured Party that is in existence as of the
                          Petition Date.

          6.        Findings Regarding the DIP Loan.

                    a.    Good Cause. Good cause has been shown for the entry of this
                          Interim Order and authorization for AmeriFirst to incur DIP
                          Obligations (as defined below) pursuant to the DIP Term Sheet as
                          hereinafter provided up to the Interim Amount Limit during the
                          Interim Period. AmeriFirst’s need for financing of the type afforded
                          by the DIP Term Sheet is immediate and critical. Entry of this
                          Interim Order will preserve the assets of AmeriFirst’s estate and its
                          value for the benefit of all stakeholders and is in the best interests of
                          AmeriFirst, its creditors, and its estate. The terms of the proposed
                          financing are fair and reasonable, reflect AmeriFirst’s exercise of
                          business judgment, and are supported by reasonably equivalent
                          value and fair consideration.

                    b.    Proposed DIP Loan. AmeriFirst has requested that the DIP
                          Lenders fund the DIP Loans from time to time (collectively with all
                          other debts, obligations, liabilities, and indemnities of AmeriFirst
                          under the DIP Term Sheet, the “DIP Obligations”), all in accordance
                          with and subject to the terms of the DIP Term Sheet. The DIP
                          Lenders are willing to advance the DIP Loans upon the terms and
                          conditions set forth herein and in the DIP Term Sheet.

                    c.    No Credit Available on More Favorable Terms.         The terms of
                          the DIP Term Sheet are favorable and it is unlikely that better terms
                          could otherwise be obtained. AmeriFirst is also unable to obtain
                          unsecured credit allowable under Section 364(c)(1) of the
                          Bankruptcy Code without granting liens and superpriority claims in

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                         favor of the DIP Lenders under the terms and conditions set forth in
                         this Interim Order and in the DIP Term Sheet.

                    d.   Budget/Reporting.       AmeriFirst has prepared and annexed to this
                         Interim Order as Exhibit B hereto a budget (as at any time amended
                         or supplemented with the written consent of the DIP Agent, the
                         “Budget”), which sets forth, among other things, the projected
                         disbursements for the period covered thereby and which AmeriFirst
                         believes in good faith to be realistic and achievable. The DIP Agent
                         and the DIP Lenders are relying upon the Budget in entering into the
                         DIP Term Sheet. As set forth in the DIP Sheet, AmeriFirst is
                         required to deliver certain ongoing reports to the DIP Agent and the
                         DIP Lenders showing actual disbursements compared to the Budget,
                         subject to certain Permitted Variance (as defined in the DIP Term
                         Sheet).

                    e.   Certain Conditions to DIP Loan.        The DIP Lenders’ willingness
                         to make DIP Loans pursuant to the DIP Term Sheet is conditioned
                         upon, among other things, (i) AmeriFirst obtaining Court approval
                         of the DIP Term Sheet and all DIP Obligations of AmeriFirst and all
                         rights and remedies of the DIP Agent and the DIP Lenders
                         thereunder; and (ii) the DIP Agent and the DIP Lenders receiving,
                         as a benefit for the prompt payment of all DIP Obligations, certain
                         liens and superpriority claims as set forth herein.

                    f.   Interim Hearing.         Pursuant to Bankruptcy Rules 4001(b)(2) and
                         (c)(2) and Local Bankruptcy Rule 4001-2, the Court has held the
                         Interim Hearing and hereby authorizes AmeriFirst to obtain DIP
                         Loans during the period from the date of entry of this Order through
                         the date on which the final hearing on the Motion pursuant to
                         Bankruptcy Rules 4001(b)(2) and (c)(2) scheduled pursuant to this
                         Interim Order is concluded (the “Interim Period”), for purposes
                         specified in the initial Budget.

                    g.   Finding of Good Faith.           Based upon the record presented at
                         the Interim Hearing, the DIP Term Sheet was negotiated in good
                         faith and at arm’s-length between AmeriFirst , the DIP Agent, and
                         the DIP Lenders. All of the DIP Obligations including, without
                         limitation, the DIP Loans made pursuant to the DIP Term Sheet and
                         all other liabilities and obligations of AmeriFirst under this Interim
                         Order owing to the DIP Agent and the DIP Lenders shall be deemed
                         to have been extended by the DIP Lenders in “good faith,” as such
                         term is used in Section 364(e) of the Bankruptcy Code, and in
                         express reliance upon the protections offered by Section 364(e) of
                         the Bankruptcy Code. The DIP Agent and the DIP Lenders shall be
                         entitled to the full protection of Section 364(e) of the Bankruptcy


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                           Code in the event that this Interim Order or any provision hereof is
                           vacated, reversed, or modified, on appeal or otherwise.

                    h.     Immediate Entry.        AmeriFirst has requested immediate entry of
                           this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and
                           4001(c)(2) and the Local Bankruptcy Rules. Absent granting the
                           interim relief sought by the Motion, AmeriFirst’s estate will be
                           immediately and irreparably harmed pending the Final Hearing.
                           AmeriFirst’s consummation of the DIP Loans in accordance with
                           the terms of this Interim Order and the DIP Term Sheet is in the best
                           interest of AmeriFirst’s estate and is consistent with AmeriFirst’s
                           exercise of its fiduciary duties. Under the circumstances, the notice
                           given by the Debtors of the Motion and the Interim Hearing
                           constitutes due and sufficient notice thereof and complies with
                           Bankruptcy Rules 4001(b) and (c) and the Local Rules. No further
                           notice of the relief sought at the Interim Hearing is necessary or
                           required.

          7.        Authorization of Interim Financing; Use of Proceeds.

                    a.     The Court hereby authorizes and approves AmeriFirst’s execution
                           and delivery of the DIP Term Sheet in substantially the form
                           annexed hereto (with such changes, if any, as were made prior to or
                           as a result of the Interim Hearing or are otherwise authorized to be
                           made as amendments to the DIP Term Sheet in accordance with this
                           Interim Order).

                    b.     AmeriFirst is hereby authorized to borrow money pursuant to the
                           DIP Term Sheet, on the terms and subject to the conditions, set forth
                           in any DIP Loan Document and this Interim Order, up to an
                           aggregate outstanding principal amount at any time not exceeding
                           the sum of $2,775,000, plus applicable interest, expenses, fees and
                           other charges payable in connection with such DIP Loans, and to
                           incur any and all liabilities and obligations under the DIP Term
                           Sheet and to pay all principal, interest, fees, expenses and other
                           obligations provided for under the DIP Term Sheet.

                    c.     The DIP Agent and the DIP Lenders shall not have any obligation
                           or responsibility to monitor AmeriFirst’s use of the DIP Loans, and
                           the DIP Agent and the DIP Lenders may rely upon AmeriFirst’s
                           representations that the amount of DIP Loans requested at any time,
                           and the use thereof, are in accordance with the requirements of this
                           Interim Order, the DIP Term Sheet, and Bankruptcy Rule
                           4001(c)(2).

                    d.     Proceeds of any DIP Loans shall be used in accordance with the DIP
                           Term Sheet.

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          8.        Execution, Delivery and Performance of DIP Term Sheet. The DIP Term Sheet

may be executed and delivered on behalf of AmeriFirst by any officer, director, or agent of such

Debtor, who by signing shall be deemed to represent himself or herself to be duly authorized and

empowered to execute the DIP Term Sheet for and on behalf of such Debtor. The DIP Agent and

the DIP Lenders shall be authorized to rely upon any such person’s execution and delivery of the

DIP Term Sheet as having been done with all requisite power and authority to do so, and the

execution and delivery of any of the DIP Term Sheet or amendments thereto by any such person

on behalf of AmeriFirst shall be conclusively presumed to have been duly authorized by all

necessary corporate, limited liability company, or other entity action (as applicable) of such

Debtor. Upon execution and delivery thereof, the DIP Term Sheet shall constitute a valid and

binding obligation of AmeriFirst, enforceable against such Debtor in accordance with their terms

for all purposes during its Chapter 11 Case, and any subsequently converted case of such Debtor

under Chapter 7 of the Bankruptcy Code (each, a “Successor Case”). No obligation, payment, or

transfer under the DIP Term Sheet or this Interim Order shall be stayed, restrained, voidable,

avoidable, or recoverable under the Bankruptcy Code or under any applicable non-bankruptcy law

(including, without limitation, under Sections 502(d), 544, 548 or 549 of the Bankruptcy Code or

under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act

or similar statute or common law), or subject to any defense, reduction, setoff, recoupment or

counterclaim. AmeriFirst is authorized to do and perform all acts: to make, execute and deliver

all instruments and documents (including, without limitation, amendments, waivers, consents, and

other modifications) and to pay all reasonable fees, costs and expenses in each case as may be

necessary or, in the reasonable opinion of the DIP Agent and the DIP Lenders, desirable to give

effect to any of the terms and conditions of the DIP Term Sheet, to validate the perfection of the



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DIP Liens (as defined below), or as may otherwise be required or contemplated by the DIP Term

Sheet.

          9.        DIP Liens. As security for the DIP Obligations, effective and automatically

properly perfected on the date this Interim Order is entered, and without the necessity of execution,

recordation or filing of any perfection document or instrument, or the possession or control by the

DIP Agent of, or over, any collateral, without any further action by the DIP Lenders, the following

valid, binding, continuing, fully perfected, enforceable and non-avoidable security interests and

liens (the “DIP Liens”) will be granted to the DIP Agent for the benefit of the DIP Lenders (all

property identified below being collectively referred to as the “DIP Collateral,” and, together with

the Prepetition Collateral (as defined below), the “Collateral”), subject to and junior in all respects

to the Carve-Out:

          (a)       Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the Bankruptcy

                    Code, a first priority lien on and security interest in (subject only to the Carve-Out)

                    all tangible and intangible prepetition and postpetition property of AmeriFirst

                    whether existing on the Petition Date or thereafter acquired, including, without

                    limitation, AmeriFirst’s mortgage servicing rights (to the extent such rights are

                    unencumbered property) and the proceeds, products, rents, and profits thereof, that,

                    on or as of the Petition Date, is not subject to (i) a valid, perfected and non-

                    avoidable lien or (ii) a valid and non-avoidable lien in existence as of the Petition

                    Date that is perfected subsequent to the Petition Date as permitted by section 546(b)

                    of the Bankruptcy Code, other than avoidance actions and the Carve-Out, but

                    including, upon and subject to entry of the Interim Order, proceeds of avoidance

                    actions (collectively, the “Unencumbered Property”).



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          (b)       Liens Junior to Certain Other Liens on Encumbered Property. Pursuant to section

                    364(c)(3) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully

                    perfected security interest in and lien upon all tangible and intangible prepetition

                    and postpetition property of AmeriFirst that, on or as of the Petition Date, is subject

                    to and junior in all respects to the Prepetition Liens and the liens or security interests

                    permitted under the Prepetition Loan Documents (as defined below) (the

                    “Prepetition Permitted Senior Liens”), which Collateral (the “Encumbered

                    Property”) shall be subject to such Prepetition Liens and Prepetition Permitted

                    Senior Liens. For the avoidance of doubt, the valid and enforceable interests of

                    providers of warehouse credit facilities in mortgage loans and related documents

                    existing as of the Petition Date (the “Prepetition Warehoused Mortgage Loans

                    Collateral”) shall be deemed Prepetition Permitted Senior Liens and the Prepetition

                    Warehoused Mortgage Loans Collateral shall be deemed Encumbered Property.

          10.       DIP Superpriority Claims.         All DIP Obligations shall constitute joint and

several allowed superpriority administrative claims (the “DIP Superpriority Claims”) AmeriFirst

for all DIP Obligations under the DIP Term Sheet (without the need to file any proof of claim)

pursuant to Section 364(c)(1) of the Bankruptcy Code having priority in right of payment over all

other obligations, liabilities, and indebtedness of AmeriFirst, whether now in existence or hereafter

incurred by such Debtor, and over any and all administrative expenses of the kind specified in

sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all administrative expenses

or other claims arising under Sections 105, 326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to

entry of the Final Order approving the grant), 507, 546(c), 552(b) 726, 1113 or 1114 of the

Bankruptcy Code. Such DIP Superpriority Claims shall for purposes of Section 1129(a)(9)(A) of



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the Bankruptcy Code be considered administrative expenses allowed under Section 503(b) of the

Bankruptcy Code and shall be payable from and have recourse to all prepetition and postpetition

property of AmeriFirst and all proceeds thereof; provided, however, that the DIP Superpriority

Claims shall be subject to the Carve-Out (as defined below) and shall not be payable from the

proceeds of avoidance actions pending entry of the Final Order.

          11.       Adequate Protection.     The Prepetition Loans provided to AmeriFirst by the

Prepetition Lenders are entitled to adequate protection. The Prepetition Obligations arise under

the Prepetition Loan Documents. The Prepetition Lenders assert that, as of the Petition Date,

pursuant to the Prepetition Loan Documents, AmeriFirst granted for the benefit of the Prepetition

Lenders, valid, binding, properly perfected, enforceable, non-avoidable first priority Prepetition

Liens on the Prepetition Collateral, subject only to any liens permitted by the Prepetition Loan

Documents to be senior to the Prepetition Liens. Pursuant to sections 361, 362, 363(e), 364(d)(1)

and 507 of the Bankruptcy Code, as adequate protection of their respective interests in the

Prepetition Collateral (including Cash Collateral) for the aggregate diminution in value of such

interests (including from the amount of any Cash Collateral used by AmeriFirst) (the “Diminution

in Value”) (if any) and as an inducement to the Prepetition Lenders to consent to the use of their

Cash Collateral, the Prepetition Lenders are granted the following Adequate Protection

(collectively, the “Adequate Protection Obligations”), subject to and junior in all respects to the

DIP Obligations and the Carve-Out:

          (a)       The Prepetition Lenders, effective and perfected upon the date of this Interim Order

                    and without the necessity of the execution of any mortgages, security agreements,

                    pledge agreements, financing statements or other agreements, a valid, perfected

                    replacement security interest in and lien on account of the Prepetition Lenders’



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                    Diminution in Value (if any) upon all of the DIP Collateral, subject to and junior in

                    all respects to the DIP Liens and the Carve-Out; and

          (b)       The Prepetition Lenders shall be granted allowed superpriority administrative

                    expense claims against AmeriFirst (without the need to file any proof of claim) on

                    account of the Prepetition Lenders’ Diminution in Value (if any) under section

                    507(b) of the Bankruptcy Code (the “Prepetition Lender 507(b) Claims”), which

                    Prepetition Lender 507(b) Claims shall be payable from and have recourse to all

                    DIP Collateral and all proceeds thereof (excluding avoidance actions, but including

                    upon entry of the Final Order, without limitation, proceeds of avoidance actions).

                    Except as otherwise provided in the Interim Order or the Final Order and subject to

                    and junior in all respects to the DIP Superpriority Claims (as defined below) and

                    the Carve-Out, the Prepetition Lender 507(b) Claims shall have priority over any

                    and all administrative expenses and all other claims against AmeriFirst now

                    existing or hereafter arising, of any kind whatsoever, including, without limitation,

                    all administrative expenses of the kind specified in sections 503(b) and 507(b) of

                    the Bankruptcy Code, whether or not such claims may become secured by a

                    judgment lien or other non-consensual lien, levy or attachment.

          12.       Repayment. The DIP Obligations shall be due and payable, and shall be paid, as

and when provided in the DIP Term Sheet and as provided herein, without offset or counterclaim.

Without limiting the generality of the foregoing, in no event shall AmeriFirst be authorized to

offset or recoup any amounts owed, or allegedly owed, by the DIP Agent or the DIP Lenders to

AmeriFirst against any of the DIP Obligations without the prior written consent of the DIP Agent




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or the DIP Lenders that would be affected by any such offset or recoupment, and no such consent

shall be implied from any action, inaction or acquiescence by the DIP Agent or the DIP Lenders.

          13.       Payments Free and Clear. Any and all payments or proceeds remitted to the DIP

Agent or the DIP Lenders shall be received free and clear of any claim, charge, assessment, or

other liability, including, without limitation, any such claim or charge arising out of or based on,

directly or indirectly, section 506(c) (subject to entry of the Final Order approving the grant) or

the “equities of the case” exception of section 552(b) of the Bankruptcy Code (subject to entry of

the Final Order).

          14.       Fees and Expenses of Estate Professionals; Professional Fee Reserve. Subject to

the terms of the DIP Term Sheet and the Budget, for so long as no Event of Default has occurred,

AmeriFirst is authorized to use the DIP Loans or Cash Collateral to fund, on a weekly basis as set

forth in the Budget, the trust account of the Debtors’ general bankruptcy counsel (the “Professional

Fee Reserve”) for the purpose of reserving sufficient funds to pay the compensation and expense

reimbursement (collectively, “Professional Fees”) of estate professional persons (including

attorneys, financial advisors, accountants, investment bankers, claims and/or noticing agents,

appraisers, and consultants) retained by any Debtor with Court approval or as an ordinary course

professional (the “Debtors Professionals”) or any official committee appointed in the Chapter 11

Cases (the “Committee”) with Court approval (the “Committee Professionals,” collectively with

the Debtors Professionals, the “Professionals”), up to the amounts set forth for each Professional

in the Budget; provided, however, that, notwithstanding anything herein or in any other order of

this Court to the contrary, no proceeds of the DIP Loans or Cash Collateral shall be used to pay

Professional Fees incurred for any Prohibited Purpose (as defined below). The funds in the

Professional Fee Reserve shall remain subject to the liens and claims of the DIP Agent and the



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DIP Lenders. Any excess funds in the Professional Fee Reserve after payment of Professional

Fees shall be returned to AmeriFirst, subject to the liens and claims of the DIP Agent and the DIP

Lenders.

          15.       Section 506(c) Claims. Effective upon entry of the Final Order, no costs or

expenses of administration shall be imposed upon the DIP Agent or the DIP Lenders pursuant to

Section 506(c) of the Bankruptcy Code or otherwise without the prior written consent of the DIP

Agent or the DIP Lenders from the payments or proceeds remitted to the DIP Agent or the DIP

Lenders, and no such consent shall be implied from any action, inaction or acquiescence by the

DIP Agent or the DIP Lenders, provided that the Carve-Out is fully funded by AmeriFirst.

          16.       Carve-Out. Notwithstanding anything in this Interim Order, the DIP Term Sheet,

or any other order of this Court to the contrary, the DIP Obligations and the DIP Superpriority

Claims in favor of the DIP Agent and the DIP Lenders and the Prepetition Liens and Adequate

Protection Obligations in favor of the Prepetition Lenders shall be subject and subordinate in all

respects to the payment of the following Carve-Out. As used in this Interim Order, the “Carve-

Out” means, collectively, the aggregate amount needed to satisfy (i) accrued but unpaid fees, costs,

and expenses of the professionals of the Debtors and the Committee incurred at any time prior to

the DIP Agent’s or DIP Lenders’ delivery of a Carve-Out Trigger Notice (as defined below), up

to the aggregate amounts set forth for each Professional in the Budget for such time period and

only to the extent allowed by the Bankruptcy Court, (ii) professional fees, costs and expenses of

the Debtors and the Committee incurred after delivery of a Carve-Out Trigger Notice not to exceed

$250,000 with respect to the Professionals, to the extent allowed by the Bankruptcy Court, (iii) the

fees and expenses payable pursuant to 28 U.S.C. § 1930, (iv) any fees, costs, and expenses of a

Chapter 7 trustee or their professionals up to $50,000 in the aggregate if either of the Chapter 11



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Cases is converted to Chapter 7, and (iv) accrued but unpaid obligations to AmeriFirst’s

employees, including payroll, commissions, and benefits, due and owing under the Budget through

the date of the Carve-Out Trigger Notice; provided, that nothing in this Interim Order shall be

construed to impair the ability of any party to object to the fees, expenses, reimbursements or

compensation of any Professional, whether or not in excess of the coverage provided by the Carve-

Out. The Carve-Out shall not act as a cap on the Professional Fees that may be incurred by

Professionals in the Chapter 11 Cases. In no event shall the Carve-Out, or the funding of the DIP

Loans or the use of Cash Collateral to satisfy the Carve-Out, result in any reduction in the amount

of the DIP Obligations. “Carve-Out Trigger Notice” means written notice by the DIP Agent or

the DIP Lenders to the Debtors, any Committee, and the Office of the U.S. Trustee invoking the

Carve-Out, which notice may be delivered at any time after the occurrence, and during the

continuation, of an Event of Default.

          17.       Excluded Professional Fees. Notwithstanding anything to the contrary in this

Interim Order, neither the Carve-Out, nor the proceeds of the DIP Loans or the Cash Collateral in

any respect, shall be used to pay any Professional Fees or any other fees or expenses incurred by

any Professional in connection with any of the following (each a “Prohibited Purpose”): (a)

objecting to or contesting the validity or enforceability of this Interim Order or any DIP Loan; (b)

asserting or prosecuting any claim or cause of action against the DIP Agent or the DIP Lenders,

other than to enforce the terms of the DIP Term Sheet or this Interim Order; (c) seeking to modify

any of the rights granted under this Interim Order to the DIP Agent or the DIP Lenders; or (d)

objecting to, contesting, delaying, preventing or interfering in any way with the exercise of rights

and remedies by the DIP Agent or the DIP Lenders after the occurrence and during the continuance

of an Event of Default, provided, that the DIP Agent and the DIP Lenders may not seek to exercise



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remedies, and the Debtors may seek appropriate relief from this Court, during the period of five

(5) business days following the delivery of a Carve-Out Trigger Notice.

          18.       Preservation of Rights Granted Under This Interim Order.

                    a.     Protection from Subsequent Financing Order. There shall not be
                           entered in any of the Chapter 11 Cases or in any Successor Case any
                           order that authorizes the obtaining of credit or the incurrence of
                           indebtedness by any Debtor (or any trustee or examiner) that is
                           entitled to a security interest in any of the Debtors’ assets or priority
                           administrative status that is equal or senior to the DIP Liens and DIP
                           Superpriority Claims granted to the DIP Agent and the DIP Lenders
                           herein; provided, however, that nothing herein shall prevent the
                           entry of an order that specifically provides for the full payment of
                           all of the DIP Obligations, in the manner required by the DIP Term
                           Sheet, from the proceeds of such credit or indebtedness, and the
                           termination of any funding commitments under the DIP Term Sheet.

                    b.     Rights Upon Dismissal, Conversion or Consolidation. If any of the
                           Chapter 11 Cases are dismissed, converted or substantively
                           consolidated with another case, then neither the entry of this Interim
                           Order nor the dismissal, conversion or substantive consolidation of
                           any of the Chapter 11 Cases shall affect the rights or remedies of the
                           DIP Agent or the DIP Lenders under the DIP Term Sheet or the
                           rights or remedies of the DIP Agent or the DIP Lenders under this
                           Interim Order, and all of the respective rights and remedies
                           hereunder and thereunder of the DIP Agent and the DIP Lenders
                           shall remain in full force and effect as if such Chapter 11 Case had
                           not been dismissed, converted, or substantively consolidated.
                           Unless and until full payment of all DIP Obligations has occurred,
                           it shall constitute an Event of Default if any Debtor seeks, or if there
                           is entered, any order dismissing any of the Chapter 11 Cases. If an
                           order dismissing any of the Chapter 11 Cases is at any time entered,
                           such order shall provide (in accordance with Sections 105 and 349
                           of the Bankruptcy Code) that (i) the DIP Liens and DIP
                           Superpriority Claims shall continue in full force and effect and shall
                           maintain their priorities as provided in this Interim Order until full
                           payment of all DIP Obligations, (ii) such DIP Liens and DIP
                           Superpriority Claims shall, notwithstanding such dismissal, remain
                           binding on all parties in interest, and (iii) this Court shall retain
                           jurisdiction, notwithstanding such dismissal, for the purposes of
                           enforcing the claims, liens and security interests referred to in this
                           Paragraph and otherwise in this Interim Order.

                    c.     Survival of Interim Order. The provisions of this Interim Order, and
                           any actions taken pursuant hereto, shall survive the entry of and shall

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                          govern with respect to any conflict with any order that may be
                          entered confirming any plan of reorganization or liquidation in any
                          of the Chapter 11 Cases or any Successor Case.

                    d.    No Discharge. None of the DIP Obligations shall be discharged by
                          the entry of any order confirming a plan of reorganization or
                          liquidation in any of the Chapter 11 Cases and, pursuant to
                          Section 1141(d)(4) of the Bankruptcy Code, AmeriFirst has waived
                          such discharge.

                    e.    No Requirement to File Claim for DIP Obligations.
                          Notwithstanding anything to the contrary contained in any prior or
                          subsequent order of the Court, including, without limitation, any bar
                          date order establishing a deadline for the filing of proofs of claim
                          entitled to administrative expense treatment under Section 503(b) of
                          the Bankruptcy Code, the DIP Agent and the DIP Lenders shall not
                          be required to file any proof of claim with respect to any of the DIP
                          Obligations, all of which shall be due and payable in accordance
                          with the DIP Term Sheet without the necessity of filing any such
                          proof of claim; and the failure to file any such proof of claim shall
                          not affect the validity or enforceability of any of the DIP Term Sheet
                          or prejudice or otherwise adversely affect any rights, remedies,
                          powers or privileges of the DIP Agent and the DIP Lenders under
                          any of the DIP Term Sheet or under this Interim Order.

          19.       Amendments to DIP Term Sheet. AmeriFirst, the DIP Agent, and the DIP Lenders

are hereby authorized to implement, in accordance with the terms of the DIP Term Sheet and

without further order of the Court, any amendments to and modifications of any of such DIP Term

Sheet on the following conditions: (a) the amendment or modification must not constitute a

Material Change (as defined below) to the terms of such DIP Term Sheet and (b) copies of the

amendment or modification must be served upon counsel for the Committee, the U.S. Trustee, and

other interested parties specifically requesting such notice. Any amendment or modification that

constitutes a material change, to be effective, must be approved by the Court. For purposes hereof,

a “Material Change” shall mean a change that operates to reduce the DIP Loans or the maturity of

the DIP Obligations, to increase the aggregate amount of the commitments of the DIP Lenders

under the DIP Term Sheet, to increase the rate of interest other than as currently provided in or


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contemplated by the DIP Term Sheet, to add specific Events of Default, or to enlarge the nature

and extent of remedies available to the DIP Agent or the DIP Lenders following the occurrence of

an Event of Default. Without limiting the generality of the foregoing, any amendment of the DIP

Term Sheet to postpone or extend any date or deadline therein (including, without limitation, the

expiration of the term of the DIP Loans) shall not constitute a Material Change and may be

effectuated by AmeriFirst and the DIP Agent or the DIP Lenders without the need for further

approval of the Court.

          20.       Maturity and Repayment. The DIP Loans shall mature and be repaid as set forth in

the DIP Term Sheet.

          21.       Events of Default; Remedies.

                    a.     Events of Default.    The occurrence of any “Event of Default”
                           under (and as defined in) the DIP Term Sheet shall constitute an
                           Event of Default under this Interim Order. The term “Change of
                           Control” as used in the DIP Term Sheet shall mean that Phoenix
                           1040 LLC ceases to be sole owner of the equity interests in
                           AmeriFirst Financial, Inc.

                    b.     Default Remedies.       Upon the occurrence and during the
                           continuance of any Event of Default, the DIP Agent and the DIP
                           Lenders may (notwithstanding the provisions of Section 362 of the
                           Bankruptcy Code and without application or motion to, or order
                           from, the Bankruptcy Court) by written notice to the Debtors, any
                           Committee, and the Office of the U.S. Trustee (a) send the Carve-
                           Out Trigger Notice and (b) declare (i) the unpaid principal amount
                           of and accrued interest on the DIP Loans and (ii) all other DIP
                           Obligations, immediately due and payable, without presentment,
                           demand, protest or other requirements of any kind, all of which are
                           hereby expressly waived by AmeriFirst, and the same shall
                           forthwith become immediately due and payable, and the obligation
                           of the DIP Lenders to make any DIP Loans shall thereupon
                           terminate. Upon the occurrence and during the continuance of any
                           Event of Default and following the delivery of a Carve-Out Trigger
                           Notice, the DIP Agent and the DIP Lenders shall be required to
                           obtain the authority of this Court to exercise any rights and remedies
                           of the DIP Agent and the DIP Lenders set forth in the DIP Term
                           Sheet or in this Interim Order.


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                    c.     Rights Cumulative. The rights, remedies, powers, and privileges
                           conferred upon the DIP Agent and the DIP Lenders pursuant to this
                           Interim Order shall be in addition to and cumulative with those
                           contained in the DIP Term Sheet.

          22.       Effect of Stipulations on Third Parties; Deadline for Challenges. AmeriFirst’s

admissions, stipulations, agreements, and releases contained in this Interim Order shall be binding

upon such Debtor and any successor thereto (including, without limitation any Chapter 7 trustee

or Chapter 11 trustee or examiner appointed or elected for such Debtor) under all circumstances

and for all purposes.

          23.       Service of Interim Order. Promptly after the entry of this Interim Order, the

Debtors shall mail, by first class mail, a copy of this Interim Order, the Motion (and all exhibits

attached to the Motion), and a notice of the Final Hearing, to (without duplication) counsel for the

DIP Agent and the DIP Lenders, the U.S. Trustee, the Debtors’ consolidated thirty largest

unsecured creditors, the Internal Revenue Service, all parties who have filed requests for notices

under Rule 2002 of the Bankruptcy Rules prior to the time of such service, and all parties known

by a Debtor to hold or assert a lien on any assets of a Debtor, and shall file a certificate of service

regarding same with the Clerk of the Court. Such service shall constitute good and sufficient

notice of the Final Hearing and the relief sought by the Debtors pursuant to the proposed Final

Order.

          24.       No Deemed Control. In determining to make the DIP Loans, or in exercising any

rights or remedies as and when permitted pursuant to this Interim Order, the Final Order, or the

DIP Term Sheet, the DIP Agent and the DIP Lenders shall not be deemed to be in control of any

Debtor or its operations.

          25.       Exculpation. Nothing in this Interim Order, the DIP Term Sheet, or any other

document related to the DIP Loans shall in any way be construed or interpreted to impose or allow


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the imposition upon the DIP Agent or the DIP Lenders any liability for any claims arising from

the prepetition or postpetition activities of any Debtor in the operation of its business or in

connection with its restructuring efforts.

          26.       Binding Effect; Successors and Assigns. The provisions of the DIP Term Sheet

and this Interim Order, including all findings, shall be binding upon all parties in interest in these

Chapter 11 Cases, including, without limitation, the DIP Agent, the DIP Lenders, the Debtors, the

Committee, and their respective successors and assigns (including any Chapter 11 trustee hereafter

appointed for the estate of any Debtor, any Chapter 7 trustee appointed or elected in a Successor

Case, any examiner appointed pursuant to Section 1104 of the Bankruptcy Code, or any other

fiduciary appointed as a legal representative of any Debtor or with respect to the property of the

estate of any Debtor), and shall inure to the benefit of DIP Agent and the DIP Lenders and their

respective successors and assigns.

          27.       Final Hearing. The Final Hearing to consider entry of the Final Order shall be held

[at     :00 o’clock _.m., prevailing Eastern time on September _          , 2023, at Courtroom ],

United States Bankruptcy Court, 824 Market Street North, Wilmington, Delaware 19801. The

Final Hearing may be adjourned or postponed without further notice except as may be announced

in open Court or posted on the Court’s docket. If any or all of the provisions of this Interim Order

are modified, vacated, or stayed as the result of any Objection (as defined below) timely filed and

asserted at the Final Hearing, then any DIP Obligations incurred prior to the effective date of such

modification, vacation or stay shall be governed in all respects by the original provisions of this

Interim Order, and the DIP Agent and the DIP Lenders shall be entitled to the protections afforded

under Section 364(e) of the Bankruptcy Code and to all the rights, remedies, privileges, and




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benefits, including, without limitation, the DIP Liens and DIP Superpriority Claims granted herein

and pursuant to the DIP Term Sheet with respect to all such DIP Obligations.

          28.       Objection Deadline. If any party in interest shall have an objection to any of the

provisions of this Interim Order, any provisions of the DIP Term Sheet, or any provisions of the

proposed Final Order (collectively, an “Objection”), such party may assert such Objection at the

Final Hearing, if a written statement setting forth the basis for such Objection is filed with the

Court and concurrently served so as to be received on or before           :00 _.m., prevailing Eastern

time on             , 2023, by the following: (a) the Office of the United States Trustee, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801; (b) counsel for the Debtors,

Pachulski Stang Ziehl & Jones LLP, Attn.: Laura Davis Jones, 919 North Market Street, 17th

Floor, Wilmington, DE 19801, email: ljones@pszjlaw.com; and (c) counsel for the DIP Agent

and the DIP Lenders, Quinn Emanuel Urquhart & Sullivan, LLP, Attn.: Patricia B. Tomasco, 711

Louisiana Street, Suite 500, Houston, TX 77002 and Quinn Emanuel Urquhart & Sullivan, LLP,

Attn.: Bennett Murphy, 51 Madison Avenue, 22nd Floor, New York, New York 10010; email:

pattytomasco@quinnemanuel.com, bennettmurphy@quinnemanuel.com. If an objecting party

shall fail to appear at the Final Hearing and assert the basis for such Objection before the Court,

such Objection shall be deemed to have been waived and abandoned by such objecting party.

          29.       Effectiveness; Enforceability. This Interim Order shall constitute findings of fact

and conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the Petition

Date immediately upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6006(d),

7062, or 9014 of the Bankruptcy Rules or any other Bankruptcy Rule, or Rule 62(a) of the Federal

Rules of Civil Procedure, this Interim Order shall be valid, take full effect, and be enforceable

immediately upon entry hereof; there shall be no stay of execution or effectiveness of this Interim



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Order; and any stay of the effectiveness of this Interim Order that might otherwise apply is hereby

waived for cause shown.

          30.       Retention of Jurisdiction.   This Court shall retain jurisdiction to enforce the

provisions of this Interim Order, and this retention of jurisdiction shall survive the confirmation

and consummation of any Chapter 11 plan for AmeriFirst notwithstanding the terms or provisions

of any such Chapter 11 plan or any order confirming any such Chapter 11 plan.

          31.       Inconsistencies. To the extent of any inconsistencies or conflicts between this

Interim Order and the DIP Term Sheet, this Interim Order shall govern.

Dated:              _________, 2023
                    Wilmington, Delaware




                                                 UNITED STATES BANKRUPTCY JUDGE




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                                       EXHIBIT A

                                     DIP Term Sheet




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                                 AMERIFIRST FINANCIAL, INC.
                        BINDING DIP TERM SHEET DATED AUGUST 28, 20231

Borrowers:                          AmeriFirst Financial, Inc. as debtor-in-possession (the “Debtor”)
DIP Credit Facility:                Maximum available on entry of the Interim Order: $2,775,000
                                    Maximum available upon entry of the Final Order: $5,000,000

                                    The DIP Credit Facility is a senior secured, superpriority term loan facility.

                                    Amounts repaid under the DIP Credit Facility may be reborrowed consistent with the
                                    Approved Budget.
DIP Lenders:                        RCP Credit Opportunities Fund Loan SPV (Fund III), L.P., RCP Customized Credit
                                    Fund (Fund IV-A), L.P. (“DIP Lenders”)
Agent:                              RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. (“DIP Agent”)
Interest Rate:                      Non-default: SOFR plus 2.0%, which shall be accrued and payable upon maturity of
                                    the DIP Loans
                                    Default: SOFR plus 4.5% payable in cash monthly in arrears.
Fees                                50 bps on total facility size and 50 bps on unused committed amounts, both of which
                                    shall be accrued and payable upon maturity of the DIP Loans.
Maturity and Repayment:             The DIP Loans shall mature on the earliest of (unless extended in writing by the DIP
                                    Agent): (i) November 30, 2023; (ii) the effective date or the date of the substantial
                                    consummation (as defined in section 1102(2) of the Bankruptcy Code) of a Plan of
                                    Reorganization that has been confirmed by an order of the Bankruptcy Court; (iii) the
                                    date the Bankruptcy Court orders the conversion of the Chapter 11 Case of the Debtor
                                    or the chapter 11 case of Phoenix 1040, LLC to a liquidation under Chapter 7 of the
                                    Bankruptcy Code; (iv) the date of consummation of a sale or other disposition of all or
                                    substantially all of the assets of the Debtor under section 363 of the Bankruptcy Code
                                    or otherwise; (v) the date the Bankruptcy Court orders the dismissal of the Chapter 11
                                    Case or the chapter 11 case of Phoenix 1040, LLC; (vi) the date of acceleration of the
                                    DIP Loans, including as a result of the occurrence and continuance of an Event of
                                    Default; and (vii) the date that is 35 calendar days after the Petition Date if the Final
                                    Order shall not have been entered by such date.

                                    Upon the maturity of the DIP Loans, the Debtor shall repay to the DIP Agent for the
                                    ratable account of the DIP Lenders the aggregate principal amount of all DIP Loans
                                    outstanding on such date, together with all accrued and unpaid interest on the principal
                                    amount of the DIP Loans (to be paid to but excluding the date of such payment) and all
                                    fees and expenses and other obligations payable under the DIP Facility (together, the
                                    “DIP Obligations”).




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       Capitalized terms not defined herein have the meaning set forth in the proposed Interim Order.
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Use of Proceeds:               The proceeds of the DIP Loans shall be applied strictly in accordance with the
                               Approved Budget (subject to the Permitted Variance), including, without limitation, to
                               the extent authorized by the Bankruptcy Court, to pay the prepetition accrued wages
                               specified in the Initial Budget (subject to the Permitted Variance).

                               No part of the proceeds of any DIP Loan, the Cash Collateral, or any other of the
                               Collateral will be used:

                               (i) for any purpose that is prohibited under the Bankruptcy Code or the Interim or the
                               Final Order; or
                               (ii) to investigate, commence, prosecute, or finance in any way (or reimburse for
                               expenses incurred or to be incurred in connection with) any action, suit, arbitration,
                               proceeding, application, motion, objection or other litigation adverse to the interests of
                               the DIP Agent and the DIP Lenders, including to commence or prosecute or join in any
                               action against the DIP Agent or the DIP Lenders with respect to or related to:
                               (A) the claims, liens or security interest of the DIP Agent and the DIP Lenders, or their
                               respective rights and remedies under the Interim Order or the Final Order, as the case
                               may be, including to commence or prosecute or join in any action against the DIP
                               Agent or the DIP Lenders seeking (x) to avoid, subordinate or recharacterize the DIP
                               Obligations, (y) any monetary, injunctive or other affirmative relief against the DIP
                               Agent or the DIP Lenders or (z) to prevent or restrict the exercise by the DIP Agent or
                               the DIP Lenders of any of their respective rights or remedies under the Interim Order
                               or the Final Order,
                               (B) any claims, demands, liabilities, responsibilities, disputes, remedies, causes of
                               action, indebtedness or obligations that are subjects of the releases set forth in the
                               Interim Order and the Final Order,
                               (C) the stipulations to be made by the Debtor and approved by the Final Order; or
                               (D) any other action which with the giving of notice or passing of time would result in
                               an Event of Default as described below; or
                               (iii) to investigate, commence, prosecute, or finance in any way (or reimburse for
                               expenses incurred or to be incurred in connection with) any action, suit, arbitration,
                               proceeding, application, motion, objection or other litigation adverse to the interests of
                               the Prepetition Agent or the Prepetition Lenders, including to commence or prosecute
                               or join in any action against the Prepetition Agent or the Prepetition Lenders with
                               respect to or related to the claims, liens or security interest of the Prepetition Agent and
                               the Prepetition Lenders, or their respective rights and remedies under the Interim Order
                               or the Final Order, as the case may be, or the Prepetition Loan Documents, including
                               to commence or prosecute or join in any action against the Prepetition Agent or the
                               Prepetition Lenders seeking (x) to avoid, subordinate or recharacterize the Prepetition
                               Obligations, (y) any monetary, injunctive or other affirmative relief against the
                               Prepetition Agent or the Prepetition Lenders or (z) to prevent or restrict the exercise by
                               the Prepetition Agent or the Prepetition Lenders of any of their respective rights or
                               remedies under the Interim Order or the Final Order, as the case may be, or, to the
                               extent authorized by the Interim Order or the Final Order, under the Prepetition Loan
                               Documents ; provided, however, that up to $50,000 in the aggregate of the proceeds of
                               any DIP Loan or cash collateral may be used solely by any statutory committee
                               appointed in the Chapter 11 Case to investigate, but not to commence, prosecute or
                               finance litigation, with respect to the foregoing.




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Budget                         Following delivery of the Initial Budget, not later than the last Business Day of the last
                               full calendar week of each month (or earlier with respect to the budget to be attached
                               to the Final Order) (the “Updated Budget Deadline”), the Debtor shall provide the DIP
                               Agent with an updated budget (each such update which is approved in accordance with
                               the terms hereof, an “Updated Budget”), prepared by management of the Debtor in
                               consultation with the DIP Agent covering a 13-week period that commences with the
                               Updated Budget Deadline, consistent with the form and level of detail set forth in the
                               Initial Budget. Each Updated Budget shall be, in each case, subject to the written
                               approval of the DIP Agent (in its sole discretion). As used herein, the “Approved
                               Budget” shall mean (i) initially, the Initial Budget and (ii) thereafter, upon (and subject
                               to) the approval of any Updated Budget by the DIP Agent, such Updated Budget.

Budget Variance                Commencing on Friday, September 8, 2023, and on each Friday thereafter, the Debtor
                               shall provide a weekly variance report to the DIP Agent showing actual receipts (if
                               any) and actual disbursements compared against the projected receipts (if any) and
                               projected disbursements in the Approved Budget through the last Business Day of the
                               prior week (each, a “Budget Variance Test Date”). The Debtor shall not permit:

                               (a) the sum of the actual aggregate operating disbursements of the Debtor for the four
                               weeks (or lesser period if applicable) ending immediately prior to such Budget
                               Variance Test Date (the “Budget Variance Test Period”) to be greater than 110% of the
                               aggregate amount set forth for the line item in the Approved Budget entitled “Total
                               Operating Disbursements” for such Budget Variance Test Period (the “Permitted
                               Variance”); or

                               (b) the sum of the actual disbursements of fees incurred by professionals of any
                               unsecured creditors committee in the Chapter 11 Case and of the Debtor ending
                               immediately prior to such Budget Variance Test Date to be greater than the amount set
                               forth for the line item in the Approved Budget under “Non-Operating Disbursements”
                               for such Budget Variance Test Period.

                               To the extent that any Budget Variance Test Period encompasses a period that is
                               covered in more than one Approved Budget, the applicable weeks from each
                               applicable Approved Budget shall be utilized in making the described above.




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Conditions of Borrowing        The following shall each be true as the date of any Credit Extension:

                               (a) (i) All Chapter 11 Orders filed or to be filed with, and submitted to, the Bankruptcy
                               Court shall be in form and substance reasonably acceptable to the DIP Agent.
                               (ii) Each Chapter 11 Order that has been entered as of such date shall be in full force
                               and effect and shall not have been vacated, reversed, modified, amended or stayed
                               without the written consent of the DIP Agent.
                               (iii) The Debtor shall be in compliance in all material respects with the Interim Order
                               and the Final Order, as applicable, and each other Chapter 11 Order.
                               (b) The DIP Agent shall have received a Request for Credit Extension in accordance
                               with the requirements hereof.
                               (c) All engagement letters or other agreements providing for the payment of the fees
                               and expenses of the Debtor’s proposed professional advisors shall be in form and
                               substance reasonably satisfactory to the DIP Agent.

                               The effectiveness of the DIP Credit Facility and the obligation of the DIP Lenders to
                               fund the Initial Loans shall be subject to the satisfaction or waiver of the following
                               conditions precedent:

                               (a) The Interim Order (i) shall have been entered by the Bankruptcy Court and (ii)
                               shall be in full force and effect and shall not (in whole or in part) have been reversed,
                               modified, amended, stayed, or vacated, absent prior written consent of Agent.
                               (b) All orders entered by the Bankruptcy Court pertaining to cash management and
                               adequate protection, shall, and all other motions and documents filed or to be filed
                               with, and submitted to, the Bankruptcy Court in connection therewith shall be in form
                               and substance reasonably satisfactory to the DIP Agent.
                               (c)(i) No trustee, examiner or receiver shall have been appointed or designated with
                               respect to the Debtor or its business, properties or assets, and (ii) no order shall be
                               entered by the Bankruptcy Court dismissing the Chapter 11 Case or any other relief
                               authorizing any third party to exercise control over the bankruptcy estate of the Debtor
                               or any Collateral with an aggregate fair market value in excess of $100,000 with
                               respect to all such motions.
                               (d) The DIP Agent shall have received the Initial Budget and such other information
                               (financial or otherwise) regarding the Initial Budget as the DIP Lenders or the DIP
                               Agent may reasonably request.
                               (e) Subject to Bankruptcy Court approval, the Debtor shall have the corporate power
                               and authority to make, deliver and perform their obligations under the Interim Order.

                               The obligation of the DIP Lenders to fund loans subsequent to the Initial Loans shall
                               be subject to the satisfaction or waiver of the following conditions precedent:

                               (a) The Final Order (i) shall be in form and substance satisfactory to the Agent, (ii)
                               shall have been entered by the Bankruptcy Court within a date which is 35 days
                               following the Petition Date, and (iii) shall be in full force and effect and shall not have
                               been modified or amended absent prior written consent of the DIP Agent or reversed,
                               modified, amended, stayed, or vacated, absent the prior written consent of the DIP
                               Agent.
                               (b) The Debtor shall be in compliance with each order entered in the Chapter 11 Case,
                               including the Interim Order, and following entry of the Final Order, the Final Order.
                               (c) The Debtor shall be in compliance with the Approved Budget (subject to the
                               Permitted Variance).
                               (d) All orders entered by the Bankruptcy Court pertaining to cash management and
                               adequate protection, shall, and all other motions and documents filed or to be filed
                               with, and submitted to, the Bankruptcy Court in connection therewith shall be in form
                               and substance reasonably satisfactory to the DIP Agent.


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                                (e)(i) No trustee, examiner or receiver shall have been appointed or designated with
                                respect to the Debtor or its business, properties or assets, and (ii) no order shall be
                                entered by the Bankruptcy Court dismissing the Chapter 11 Case or any other relief
                                authorizing any third party to exercise control over the bankruptcy estate of the Debtor
                                or any Collateral with an aggregate fair market value in excess of $100,000 with
                                respect to all such motions, and no motion or application shall have been filed with
                                respect to the foregoing other than a motion that is being contested by the Debtor in
                                good faith.
                                (f) The DIP Agent shall have received the Initial Budget and such other information
                                (financial or otherwise) regarding the Initial Budget as the DIP Lenders or the DIP
                                Agent may reasonably request.

Roll-up                         Subject to entry of the Final Order, an amount of the loans under the prepetition credit
                                facility (the “Prepetition Loans”) provided to the Debtor by the Prepetition Lenders
                                (which entities are also the DIP Lenders) shall be rolled up, and converted into DIP
                                Obligations secured by the DIP Liens ratably with the DIP Loans in an amount equal
                                to the sum of (x) the amounts advanced to Phoenix 1040, LLC immediately prior to the
                                Petition Date to fund the retention of professionals and premiums for director and
                                officer liability insurance (the “Prepetition Protective Advances”); and (y) 100% of the
                                aggregate amount of Cash Collateral used by the Debtor and DIP Loans advanced
                                pursuant to the Interim Order and the Final Order.
Perfection and Enforceability   Subject to entry of the Final Order, the Debtor stipulates that the Prepetition Loans and
of Prepetition Obligations      other obligations of the Debtor (the “Prepetition Obligations”) under that certain
and Liens                       Amended and Restated Credit and Security Agreement, dated as of May 15, 2023, and
                                the Loan Documents (as defined therein) (the “Prepetition Loan Documents”),
                                constitute legal, valid, binding, and non-avoidable obligations of the Debtor in
                                accordance with the respective terms of the relevant Prepetition Loan Documents, and
                                no portion of the Prepetition Obligations or any payment made to the Prepetition
                                Lenders or applied to or paid on account thereof prior to the Petition Date is subject to
                                any contest, attack, rejection, recovery, reduction, defense, counterclaim, offset,
                                subordination, recharacterization, avoidance or other claim (as such term is defined in
                                the Bankruptcy Code), cause of action including any avoidance actions under chapter
                                5 of the Bankruptcy Code), choses in action or other challenge of any nature under the
                                Bankruptcy Code or any applicable non-bankruptcy law. The Prepetition Protective
                                Advances shall be deemed “Protective Advances” under the Prepetition Loan
                                Documents.

                                Subject to entry of the Final Order, the Debtor stipulates that, as of the Petition Date,
                                pursuant to the Prepetition Loan Documents, the Debtor granted for the benefit of the
                                Prepetition Lenders, a valid, binding, properly perfected, enforceable, non-avoidable
                                first priority security interest in and continuing lien on (the “Prepetition Liens”)
                                substantially all of their assets and property as set forth in the Prepetition Loan
                                Documents (the “Prepetition Collateral”), subject only to any liens permitted by the
                                Prepetition Loan Documents to be senior to the Prepetition Liens, solely to the extent
                                that such permitted liens are (a) valid, perfected, and non-avoidable on the Petition
                                Date or (b) valid liens in existence on the Petition Date that are perfected subsequent to
                                the Petition Date in accordance with section 546(b) of the Bankruptcy Code
                                (collectively, the “Prepetition Permitted Senior Liens”).




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Challenge Period               The Debtor’s stipulations, admissions, agreements and releases contained in the Final
                               Order shall be binding upon the Debtor in all circumstances and for all purposes. The
                               Debtor’s stipulations, admissions, agreements and releases contained in the Final
                               Order shall be binding upon all other parties in interest, including, without limitation,
                               any statutory or non-statutory committees appointed or formed in the Chapter 11 Case
                               and any other person or entity acting or seeking to act on behalf of the Debtor’s estate,
                               including any chapter 7 or chapter 11 trustee or examiner appointed or elected for the
                               Debtor, in all circumstances and for all purposes unless: (a) (x) such committee or
                               other party in interest with requisite standing has timely filed an adversary proceeding
                               or contested matter (subject to the limitations contained herein) by no later than the
                               later of (x) 21 calendar days after entry of the Final Order and (y) if a chapter 7 or a
                               chapter 11 trustee is appointed or elected prior to the end of the Challenge Period (as
                               defined below), the Challenge Period solely for any such chapter 7 trustee or chapter
                               11 trustee shall be extended to the date that is the later of (A) 21 calendar days after
                               entry of the Final Order, or (B) the date that is 30 calendar days after their
                               appointment; or any such later date as has been agreed to in writing by the Prepetition
                               Lenders or has been ordered by the Court for cause upon a motion filed and served
                               within any applicable period (the time period established by the foregoing clauses (x)-
                               (z) the “Challenge Period”), (A) objecting to or challenging the amount, validity,
                               perfection, enforceability, priority or extent of the Prepetition Obligations or the
                               Prepetition Liens, or (B) asserting or prosecuting any avoidance action or any other
                               claims, counterclaims or causes of action, objections, contests or defenses
                               (collectively, the “Challenges”) against the Prepetition Lenders in connection with or
                               related to the Prepetition Loan Documents, the Prepetition Loans, the Prepetition
                               Liens, or the Prepetition Collateral; and (b) there is a final non-appealable order in
                               favor of the plaintiff sustaining any such Challenge; provided, however, that any
                               pleadings filed in connection with a Challenge shall set forth with specificity the basis
                               for such Challenge and any Challenges not so specified prior to the expiration of the
                               Challenge Period shall be deemed forever waived, released and barred. If no
                               Challenge is timely and properly filed during the Challenge Period or the Court does
                               not rule in favor of the plaintiff in any such Challenge, then: (1) the Debtor’s
                               stipulations, admissions, agreements and releases contained in the Final Order shall be
                               binding on all parties in interest; (2) the obligations of the Debtor under the Prepetition
                               Loan Documents shall constitute allowed claims not subject to defense avoidance,
                               reduction, setoff, recoupment, recharacterization, subordination, disallowance,
                               impairment, counterclaim, cross-claim, or any other challenge under the Bankruptcy
                               Code or any applicable law or regulation by any person or entity for all purposes in
                               this case and any Successor Case; (3) the Prepetition Liens shall be deemed to have
                               been, as of the Petition Date, legal, valid, binding, perfected, security interests and
                               liens, not subject to defense, avoidance, reduction, setoff, recoupment,
                               recharacterization, subordination (whether equitable, contractual or otherwise),
                               disallowance, impairment, counterclaim, cross-claim, or any other challenge under the
                               Bankruptcy Code or any applicable law or regulation by any person or entity,
                               including any statutory or non-statutory committees appointed or formed in the
                               Chapter 11 Case or any other party in interest acting or seeking to act on behalf of the
                               Debtor’s estates, including, without limitation, any chapter 7 or chapter 11 trustee or
                               examiner, and any defense, avoidance, reduction, setoff, recoupment,
                               recharacterization, subordination (whether equitable, contractual, or otherwise),
                               disallowance, impairment, counterclaim, cross-claim, or any other challenge under the
                               Bankruptcy Code or any applicable law or regulation by any statutory or non-statutory
                               committees appointed or formed in the Chapter 11 case or any other party acting or
                               seeking to act on behalf of the Debtor’s estates, including, without limitation, any
                               chapter 7 or chapter 11 trustee or examiner, whether arising under the Bankruptcy
                               Code or otherwise, against any of Prepetition Lenders shall be deemed forever waived,
                               released and barred. If any Challenge is timely filed during the Challenge Period, the


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                               stipulations, admissions, agreements and releases contained in the Final Order shall
                               nonetheless remain binding and preclusive (as provided in the second sentence of this
                               paragraph) on each person or entity, except to the extent that such stipulations,
                               admissions, agreements and releases were expressly and successfully challenged in
                               such Challenge as set forth in a final, non-appealable order of a court of competent
                               jurisdiction. Nothing in the Final Order will vest or confers on any person or entity
                               (each as defined in the Bankruptcy Code), including any statutory or non-statutory
                               committees appointed or formed in the Chapter 11 Case, standing or authority to
                               pursue any claim or cause of action belonging to the Debtor or its estate, including,
                               without limitation, any Challenges with respect to the Prepetition Loan Documents,
                               Prepetition Loans or Prepetition Liens, and any ruling on standing, if appealed, shall
                               not stay or otherwise delay confirmation of any plan of reorganization in the Chapter
                               11 Case.

Waiver/Modification of the     The Interim Order and the Final Order shall include a customary waiver/modification
Automatic Stay                 of the automatic stay to permit the DIP Agent and the DIP Lenders to take all actions
                               as are necessary or appropriate to implement the terms of the Interim Order and the
                               Final Order. The automatic stay shall be modified to the extent necessary to permit the
                               DIP Agent on behalf of the DIP Lenders to take any action necessary or appropriate to
                               perfect the liens of the DIP Lenders on the DIP Collateral and the Collateral.

Adequate Protection            Pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, as
                               adequate protection of their respective interests in the Prepetition Collateral for the
                               aggregate diminution in value of such interests (including from the amount of any
                               Cash Collateral used by the Debtor) (the “Diminution in Value”) (if any) and as an
                               inducement to the Prepetition Lenders to consent to the use of their Cash Collateral,
                               the Prepetition Lenders are granted the following Adequate Protection (collectively,
                               the “Adequate Protection Obligations”), subject to and junior in all respects to the DIP
                               Obligations and the Carve-Out:

                               (i) The Prepetition Lenders, effective and perfected upon the date of the Interim
                               Order and without the necessity of the execution of any mortgages, security
                               agreements, pledge agreements, financing statements or other agreements, a valid,
                               perfected replacement security interest in and lien on account of the Prepetition
                               Lenders’ Diminution in Value (if any) upon all of the DIP Collateral, subject to and
                               junior in all respects to the DIP Liens (as defined below) and the Carve-Out; and

                               (ii) The Prepetition Lenders shall be granted allowed superpriority administrative
                               expense claims against the Debtor (without the need to file any proof of claim) on
                               account of the Prepetition Lenders’ Diminution in Value (if any) under section 507(b)
                               of the Bankruptcy Code (the “Prepetition Lender 507(b) Claims”), which Prepetition
                               Lender 507(b) Claims shall be payable from and have recourse to all DIP Collateral
                               and all proceeds thereof (excluding avoidance actions, but including upon entry of the
                               Final Order, without limitation, proceeds of avoidance actions). Except as otherwise
                               provided in the Interim Order or the Final Order and subject to and junior in all
                               respects to the DIP Superpriority Claims (as defined below) and the Carve-Out, the
                               Prepetition Lender 507(b) Claims shall have priority over any and all administrative
                               expenses and all other claims against the Debtor now existing or hereafter arising, of
                               any kind whatsoever, including, without limitation, all administrative expenses of the
                               kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, whether or not
                               such claims may become secured by a judgment lien or other non-consensual lien, levy
                               or attachment.




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Collateral:                    As security for the DIP Obligations, effective and automatically properly perfected on
                               the date the Interim Order is entered, and without the necessity of execution,
                               recordation or filing of any perfection document or instrument, or the possession or
                               control by the DIP Agent of, or over, any Collateral, without any further action by the
                               DIP Lenders, the following valid, binding, continuing, fully perfected, enforceable and
                               non-avoidable security interests and liens (the “DIP Liens”) will be granted to the DIP
                               Agent for the benefit of the DIP Lenders (all property identified below being
                               collectively referred to as the “DIP Collateral,” and, together with the Prepetition
                               Collateral, the “Collateral”), subject to and junior in all respects to the Carve-Out:

                               Liens on Unencumbered Property

                               Pursuant to section 364(c)(2) of the Bankruptcy Code, a first priority lien on and
                               security interest in (subject only to the Carve-Out) all tangible and intangible
                               prepetition and postpetition property of the Debtor whether existing on the Petition
                               Date or thereafter acquired, including, without limitation, the Debtor’s mortgage
                               servicing rights (to the extent such rights are unencumbered property) and the
                               proceeds, products, rents, and profits thereof, that, on or as of the Petition Date, is not
                               subject to (i) a valid, perfected and non-avoidable lien or (ii) a valid and non-avoidable
                               lien in existence as of the Petition Date that is perfected subsequent to the Petition
                               Date as permitted by section 546(b) of the Bankruptcy Code, other than avoidance
                               actions and the Carve-Out (and any amounts held therein), but including, upon and
                               subject to entry of the Interim Order, proceeds of avoidance actions (collectively, the
                               “Unencumbered Property”).

                               Liens Junior to Certain Other Liens on Encumbered Property

                               Pursuant to section 364(c)(3) of the Bankruptcy Code, a valid, binding, continuing,
                               enforceable, fully perfected security interest in and lien upon all tangible and
                               intangible prepetition and postpetition property of the Debtor that, on or as of the
                               Petition Date, is subject to and junior in all respects to the Prepetition Liens and the
                               liens or security interests permitted under the Prepetition Loan Documents (i.e., the
                               Prepetition Permitted Senior Liens), which Collateral (the “Encumbered Property”)
                               shall be subject to such Prepetition Liens and Prepetition Permitted Senior Liens.

                               For the avoidance of doubt, the valid and enforceable interests of providers of
                               warehouse credit facilities in mortgage loans and related documents existing as of the
                               Petition Date (the “Prepetition Warehoused Mortgage Loans Collateral”) shall be
                               deemed Prepetition Permitted Senior Liens and the Prepetition Warehoused Mortgage
                               Loans Collateral shall be deemed Encumbered Property.

DIP Superpriority Claims       The DIP Obligations shall be superpriority administrative expense claims against the
                               Debtors (without the need to file any proof of claim) under section 507(b) of the
                               Bankruptcy Code entitled to superpriority status senior to the Prepetition Lender
                               507(b) Claims, as set forth in the Interim Order and the Final Order (the “DIP
                               Superpriority Claims”).
Carve-Out:                     As to be provided in the Interim Order and Final Order




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Events of Default:             (b) Failure to pay or prepay principal or interest within three (3) business days after
                               the same becomes due.
                               (c) Failure to perform or observe any other term, covenant or agreement described
                               herein and such failure continue for fifteen (15) days after receipt by the Debtor of
                               written notice thereof.
                               (d) Any final judgment or order is entered against the Debtor for the payment of
                               money in excess of $100,000 and such judgment or order shall not have been satisfied,
                               vacated, discharged or stayed or bonded pending appeal for a period of (60) days.
                               (e) The Interim Order or the Final Order shall for any reason cease to create, or shall
                               be asserted by the Debtor not to create, a valid and perfected lien on and security
                               interest in the Collateral with the priority required herein.
                               (f) Any Change in Control.
                               (g) The Final Order shall not have been entered by the Bankruptcy Court on or
                               before the date that is 35 days following the Petition Date, which Final Order shall be
                               in full force and effect and shall not have been reversed, modified, amended, stayed, or
                               vacated.
                               (h) The Chapter 11 Case or the chapter 11 case of Phoenix 1040, LLC shall be
                               dismissed or the Bankruptcy Court shall have made a ruling requiring the dismissal of
                               the Chapter 11 Case or the chapter 11 case of Phoenix 1040, LLC , suspended or
                               converted it to a case under chapter 7 of the Bankruptcy Code, or the Debtor shall file
                               any pleading requesting any such relief; or a motion shall be filed by the Debtor for the
                               approval of, or there shall arise, (x) any other claim having priority senior to or pari
                               passu with the claims of the DIP Agent and the DIP Lenders or any other claim having
                               priority over any or all administrative expenses of the kind specified in clause (b) of
                               Section 503 or clause (b) of Section 507 of the Bankruptcy Code (other than the
                               Carve-Out)or (y) any Lien on the Collateral having a priority senior to or pari passu
                               with the Liens and security interests granted in the Interim Order or the Final Order,
                               except as expressly provided herein and in the Interim Order or the Final Order, as
                               applicable.
                               (i) The Debtor shall file a motion in the Chapter 11 Case to obtain additional or
                               replacement financing from a party other than DIP Lenders under Section 364(d) of
                               the Bankruptcy Code or to use Cash Collateral of a DIP Lender under Section 363(c)
                               of the Bankruptcy Code, except to the extent any such financing shall provide for the
                               payment in full in cash of the DIP Obligations and the obligations under the
                               Prepetition Loan Documents.
                               (j) The Debtor shall file a motion seeking, or the Bankruptcy Court shall enter, an
                               order (A) approving payment of any prepetition claim other than (x) as provided for in
                               (i) the First Day Orders or Second Day Orders or (ii) the Approved Budget or (y)
                               otherwise consented to by the DIP Agent on behalf of the DIP Lenders in writing, (B)
                               granting relief from the automatic stay applicable under section 362 of the Bankruptcy
                               Code to any holder of any security interest to permit foreclosure on any assets with a
                               fair market value in excess of $100,000; or (C) approving any settlement or other
                               stipulation not approved by the DIP Agent on behalf of the DIP Lenders in writing
                               with any secured creditor providing for payments as adequate protection or otherwise
                               to such secured creditor.
                               (k) An order shall be entered by the Bankruptcy Court without the express prior
                               written consent of the DIP Agent on behalf of the DIP Lenders (i) to revoke, reverse,
                               stay, modify, supplement, vacate or amend the Interim Order or the Final Order in a
                               manner inconsistent with this term sheet in a manner adverse to the DIP Lenders, (ii)
                               to permit any administrative expense or any claim (now existing or hereafter arising, of
                               any kind or nature whatsoever) to have administrative priority equal or superior to the
                               priority of the DIP Loans (other than the Carve-Out); or (iii) to grant or permit the
                               grant of a Lien on the Collateral.
                               (l) An application for any of the orders described in clauses (h), (i), (j), (k), (n) and
                               (r) shall be made by a Person other than the Debtor, and such application is not


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                               contested by the Debtor in good faith or any Person obtains a non-appealable final
                               order charging any of the Collateral under section 506(c) of the Bankruptcy Code
                               against the DIP Lenders or obtains a final order adverse to the DIP Lenders.
                               (m) The Debtor shall fail to comply with the terms and conditions of the Interim
                               Order or the Final Order in any material respect, and such failure is not cured within
                               two (2) Business Days of knowledge or notice thereof.
                               (n) The Bankruptcy Court shall enter order appointing a trustee under Chapter 7 or
                               Chapter 11 of the Bankruptcy Code, or a responsible officer or an examiner with
                               enlarged powers relating to the operation of the business (powers beyond those set
                               forth in subclauses (3) and (4) of clause (a) of Section 1106 of the Bankruptcy Code)
                               under clause (b) of Section 1106 of the Bankruptcy Code in the Chapter 11 Case or the
                               chapter 11 case of Phoenix 1040, LLC or the Debtor shall file, or support, any pleading
                               seeking such relief.
                               (o) The entry of an order by the Bankruptcy Court terminating or modifying the
                               exclusive right of the Debtor to file a Plan of Reorganization pursuant to section 1121
                               of the Bankruptcy Code, without the prior written consent of the DIP Agent on behalf
                               of the DIP Lenders.
                               (p) The Debtor shall support (in any such case by way of any motion or other
                               pleading filed with the Bankruptcy Court or any other writing to another party-in-
                               interest executed by or on behalf of the Debtor) any other Person’s opposition of any
                               motion made in the Bankruptcy Court by or on behalf of the DIP Lenders seeking
                               confirmation of the amount of the DIP Lenders’ claim or the validity and
                               enforceability of the Liens in favor of the DIP Agent.
                               (q) (A) The Debtor shall seek to, or shall support (in any such case by way of any
                               motion or other pleading filed with the Bankruptcy Court or any other writing to
                               another party-in-interest executed by or on behalf of the Debtor any other person’s
                               motion to, disallow in whole or in part the DIP Lenders’ claim in respect of the
                               Obligations or to challenge the validity and enforceability of the Liens in favor of the
                               DIP Agent or contest any material provision of any Loan Document, (B) the Debtor
                               shall attempt to invalidate, reduce or otherwise impair the Liens or security interests of
                               the DIP Agent or the DIP Lenders or to subject any Collateral to assessment pursuant
                               to section 506(c) of the Bankruptcy Code, (C) any Liens on the Collateral and/or
                               super-priority claims shall otherwise, for any reason, cease to be valid, perfected and
                               enforceable in all respects, (D) any action is commenced by the Debtor that contests
                               the validity, perfection or enforceability of any of the Liens and security interests of
                               the DIP Agent or the DIP Lenders created by the Interim Order or the Final Order, or
                               (E) any material provision of the Interim Order or the Final Order shall cease to be
                               effective.
                               (r) Any judgments which are in the aggregate in excess of $100,000 as to any
                               postpetition obligation shall be rendered against the Debtor and the enforcement
                               thereof shall not be stayed.
                               (s) An order shall be entered by the Bankruptcy Court transferring venue of the
                               Chapter 11 Case to any other court.

Milestones:                    To be included in the Final Order.




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Waivers:                       Subject to entry of the Final Order, except to the extent of the Carve Out, no costs or
                               expenses of administration of the Chapter 11 Case or any future proceeding that may
                               result therefrom, including liquidation in bankruptcy or other proceeding under the
                               Bankruptcy Code, shall be charged against or recovered from the Collateral pursuant
                               to section 506(c) of the Bankruptcy Code or any similar principle of law, without the
                               prior written consent of the DIP Agent, and no consent shall be implied from any
                               action, inaction or acquiescence by the DIP Agent or the DIP Lenders to any charge,
                               lien, assessment or claims against the Collateral under section 506(c) of the
                               Bankruptcy Code or otherwise. Further, effective upon entry of the Final Order, the
                               Debtors shall waive and the Final Order shall prohibit marshalling of any of the
                               Collateral or other interest of the DIP Lender or under any similar theory, and in no
                               event shall the “equities of the case” exception in section 552(b) of the Bankruptcy
                               Code apply to the DIP Lenders.




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AGREED AS OF THE DATE FIRST WRITTEN ABOVE:


BORROWER:




DIP AGENT AND DIP LENDER:

RCP CREDIT OPPORTUNITIES FUND LOAN SPV (FUND III), L.P.


____________________________
By: _________________________
Title: _______________________


DIP LENDER:

RCP CUSTOMIZED CREDIT FUND LOAN SPV (FUND IV-A), L.P.


____________________________
By: _________________________
Title: _______________________
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AGREED AS OF THE DATE FIRST WRITTEN ABOVE:


BORROWERS:

AMERIFIRST FINANCIAL, INC.


By:--------- - ­
Name: ----------
Title:




DIP AGENT AND DIP LENDER:

RCP CREDIT OPPORTUNITIES FUND LOAN SPV (FUND III), L.P.



     By:


     By:---"'----------­
     Name: Peter C. Aberg
     Title: Member

DIP LENDER:

RCP CUSTOMIZED CREDIT FUND LOAN SPV (FUND IV-A), L.P.



     By:     RCP C OMIZED CREDIT FUND (FUND IV)
             G��G�al         er

     By: ------''--=�"----....;;:
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                                      ----1----
     Name: Peter C. Aberg
     Title: Member
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                                     EXHIBIT B

                                    Initial Budget




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Amerifirst Financial, LLC
Three Week Cash Flow Budget
8/28/2023
($ 000ʹs)
                                                          Week 1            Week 2             Week 3             3‐Week
Week Ending                                                9/1               9/8                9/15               Total

Cash Receipts
MSR                                                   $             ‐   $              ‐   $            100   $            100
Net Cash Receipts                                                   ‐                  ‐                100                100

Operating Disbursements
Payroll & Payroll Taxes                                        544                     ‐                536            1,080
Commissions                                                    208                     ‐                 95              304
IT Expense                                                       5                   128                 85              217
Benefits                                                       111                   112                  ‐              223
Rent and Lease Expense                                           ‐                     ‐                 90               90
Insurance                                                        1                    66                  ‐               67
CIK Expense                                                      ‐                     ‐                 13               13
Other                                                           10                    10                 10               30
Total Operating Disbursements                                  879                   316                829            2,024
Operating Cash Flow                                           (879)              (316)              (729)             (1,924)
Cumulative Operating Cash Flow                                (879)            (1,195)            (1,924)

Non‐Operating Disbursements / (Receipts)
Restructuring Fees                                             426                   406                449            1,281
Total Non‐Operating Disbursements / (Receipts)                 426                   406                449            1,281
Beginning Cash                                                  483                50                 50                 483
 (+/‐) Net Cash Flow                                         (1,305)             (722)            (1,178)             (3,205)
 (+) DIP                                                        872               722              1,178               2,773
Ending Cash                                           $            50   $             50   $             50   $             50

Minimum Cash                                          $            50   $             50   $             50
